                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 1 of 35



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           13

           14                                    UNITED STATES DISTRICT COURT

           15                                  NORTHERN DISTRICT OF CALIFORNIA

           16                                            OAKLAND DIVISION

           17

           18        IN RE CALIFORNIA BAIL BOND                      Master Docket No. 19-cv-00717-JST
                     ANTITRUST LITIGATION
           19                                                        CLASS ACTION

           20        THIS DOCUMENT RELATES TO:                       DEFENDANTS’ NOTICE OF MOTION AND
                                                                     JOINT MOTION TO DISMISS THE THIRD
           21        ALL ACTIONS                                     CONSOLIDATED AMENDED CLASS ACTION
                                                                     COMPLAINT; MEMORANDUM OF POINTS
           22                                                        AND AUTHORITIES

           23                                                        Judge:          Hon. Jon S. Tigar
                                                                     Hearing Date:   September 1, 2022
           24                                                        Location:       Courtroom 2, 4th Floor
                                                                     Time:           2:00 p.m.
           25                                                        Trial Date:     Not Set

           26

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    SAN DIEGO                                                                    MASTER DOCKET NO. 19-CV-00717-JST
                            Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 2 of 35



                1                                                        TABLE OF CONTENTS
                2                                                                                                                                        Page
                3    NOTICE OF MOTION AND MOTION ............................................................................................. 1
                4    STATEMENT OF RELIEF SOUGHT ................................................................................................ 1
                     STATEMENT OF ISSUES TO BE DECIDED .................................................................................. 1
                5
                     MEMORANDUM OF POINTS AND AUTHORITIES ..................................................................... 2
                6    I.   INTRODUCTION ................................................................................................................... 2
                7    II.  BACKGROUND ..................................................................................................................... 3
                          A.    April 2020 – January 2021: The Court Twice Dismisses Plaintiffs’ Similar
                8               Allegations. .................................................................................................................. 3
                9         B.    January 2021 – December 2021: Defendants Produce Over 170,000
                                Documents in Post-Dismissal Discovery. .................................................................... 4
           10                  C.   April 2022: Plaintiffs File the Repackaged SCAC as the TCAC. ............................... 4
           11                       1.     The TCAC drops multiple previously named defendants, further
                                           undermining the plausibility of any supposed industry-wide
           12                              agreement. ........................................................................................................ 5
                                    2.     The TCAC’s “new” allegations fail to allege each Defendant’s
           13                              agreement to fix a 10% standard premium rate. .............................................. 6
           14                       3.     The TCAC’s “new” allegations fail to allege each Defendant’s
                                           agreement to suppress bail agents’ rebating. ................................................... 8
           15        III.      LEGAL STANDARD .............................................................................................................. 9
           16        IV.       ARGUMENT ........................................................................................................................... 9
                               A.   The TCAC Fails to Cure the Deficiencies the Court Identified in the SCAC. ............ 9
           17
                                    1.     The TCAC does not sufficiently allege any agreement—even after
           18                              extensive discovery. ....................................................................................... 10
                                    2.     The TCAC does not sufficiently allege how each Defendant joined and
           19                              participated in a conspiracy to charge a standard 10% premium rate............ 10
           20                              a.        Allegations about SFAA pricing merely show parallel conduct. ...... 12
                                           b.        Allegations about the exchange of publicly available pricing
           21                                        information—required to be filed by the CDI—are likewise
                                                     insufficient. ........................................................................................ 13
           22
                                           c.        Allegations about trade association membership and mere
           23                                        attendance at meetings remain insufficient. ....................................... 14
                                    3.     The TCAC does not sufficiently allege that each Defendant joined and
           24                              participated in a conspiracy to prevent rebates. ............................................. 16
           25                  B.   The Noerr-Pennington Doctrine Also Bars Plaintiffs’ Amended Claims. ................ 18
                               C.   The Cartwright Act Claim Fails with the Sherman Act Claim. ................................. 20
           26
                               D.   The UCL Claim Falls with the Antitrust Claims. ...................................................... 21
           27                  E.   Dismissal Should be with Prejudice. ......................................................................... 22
           28        V.        CONCLUSION ...................................................................................................................... 22
  COOLEY LLP
                                                                                                                DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                                          i.                     MASTER DOCKET NO. 19-CV-00717-JST
                           Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 3 of 35



                1                                                     TABLE OF AUTHORITIES
                2                                                                                                                                         Page
                3
                     Cases
                4
                     A White & Yellow Cab, Inc. v. Uber Techs., Inc.,
                5       No. 15-cv-5163-JSW, 2017 WL 1208384 (N.D. Cal. Mar. 31, 2017) ....................................21
                6
                     Allied Tube & Conduit Corp. v. Indian Head, Inc.,
                7        486 U.S. 492 (1988) ...........................................................................................................18, 19

                8    In re Animation Workers Antitrust Litig.,
                         123 F. Supp. 3d 1175 (N.D. Cal. 2015) ...................................................................................12
                9
                     Blank v. Kirwan,
           10           39 Cal. 3d 311 (1985) ..............................................................................................................18
           11
                     Boone v. Redevelopment Agency of City of San Jose,
           12           841 F.2d 886 (9th Cir. 1988) .............................................................................................18, 20

           13        Brazil v. Dole Food Co.,
                        935 F. Supp. 2d 947 (N.D. Cal. 2013) .....................................................................................21
           14
                     Brown v. 140 NM LLC,
           15           No. 17-cv-05782-JSW, 2019 WL 118425 (N.D. Cal. Jan. 7, 2019) ........................................20
           16        In re Citric Acid Litig.,
           17            191 F.3d 1090 (9th Cir. 1999) .................................................................................................14

           18        Coronavirus Rep. v. Apple Inc.,
                        No. 21-cv-05567-EMC, 2021 WL 5936910 (N.D. Cal. Nov. 30, 2021) .................................18
           19
                     In re Dynamic Random Access Memory (DRAM) Indirect Purchaser Antitrust Litig.,
           20            28 F.4th 42 (9th Cir. 2022) ......................................................................................................15
           21        Evans Hotels, LLC v. Unite Here Loc. 30,
                        433 F. Supp. 3d 1130 (S.D. Cal. 2020) ....................................................................................20
           22

           23        F.T.C. v. Ticor Title Ins. Co.,
                        504 U.S. 621 (1992) .................................................................................................................18
           24
                     In re Graphics Processing Units Antitrust Litig.,
           25            527 F. Supp. 2d 1011 (N.D. Cal. 2007) ...................................................................................15
           26        Hartmann v. Cal. Dep’t. of Corr. & Rehab.,
                        707 F.3d 1114 (9th Cir. 2013) .................................................................................................22
           27

           28
  COOLEY LLP
                                                                                                                DEFENDANTS JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                                         ii.                    MASTER DOCKET NO. 19-CV-00717-JST
                           Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 4 of 35



                1                                                      TABLE OF AUTHORITIES
                                                                             (continued)
                2

                3    Jones v. Micron Tech. Inc.,
                        400 F. Supp. 3d 897 (N.D. Cal. 2019) .....................................................................................15
                4
                     Kendall v. Visa U.S.A., Inc.,
                5
                        518 F.3d 1042 (9th Cir. 2008) .................................................................................................10
                6
                     Knievel v. ESPN,
                7       393 F.3d 1068 (9th Cir. 2005) ...................................................................................................6

                8    Kottle v. Nw. Kidney Ctrs.,
                        146 F.3d 1056 (9th Cir. 1998) .................................................................................................18
                9
                     Lesnik v. Eisenmann SE,
           10
                        374 F. Supp. 3d 923 (N.D. Cal. 2019) .......................................................................................6
           11
                     In re Musical Instruments and Equip. Antitrust Litig.,
           12            798 F.3d 1186 (9th Cir. 2015) ...........................................................................................10, 14

           13        In re Nat’l Ass’n of Music Merchs., Musical Instruments and Equip. Antitrust Litig.,
                         MDL No. 2121, 2012 WL 3637291 (S.D. Cal. Aug. 20, 2012) ...................................... passim
           14
                     Oregon Nat. Res. Council v. Mohla,
           15           944 F.2d 531 (9th Cir. 1991) ...................................................................................................18
           16
                     Parrino v. FHP, Inc.,
           17           146 F.3d 699 (9th Cir. 1998), superseded by statute on other grounds as stated in
                        Lacey v. Mariacopa Cty., 693 F.3d 896 (9th Cir. 2012) ............................................................6
           18
                     Prime Healthcare Servs., Inc. v. Serv. Emps. Int’l Union,
           19           No. 11-CV-02652 JLS (RBB), 2012 WL 3778348 (S.D. Cal. Aug. 30, 2012) .......................20
           20        Pro. Real Est. Invs., Inc. v. Columbia Pictures Indus., Inc.,
                        508 U.S. 49 (1993) ...................................................................................................................18
           21

           22        SC Manufactured Homes, Inc. v. Liebert,
                        162 Cal. App. 4th 68 (2008), as modified on denial of reh’g (May 19, 2008) ........................21
           23
                     Sosa v. DIRECTV, Inc.,
           24           437 F.3d 923 (9th Cir. 2006) ...................................................................................................18
           25        In re Static Random Access Memory (SRAM) Antitrust Litig.,
                         580 F. Supp. 2d 896 (N.D. Cal. 2008) .....................................................................................12
           26

           27        In re TFT-LCD (Flat Panel) Antitrust Litig.,
                         586 F. Supp. 2d 1109 (N.D. Cal. 2008) ...................................................................................11
           28
  COOLEY LLP
                                                                                                                DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                                         iii.                    MASTER DOCKET NO. 19-CV-00717-JST
                            Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 5 of 35



                1                                                         TABLE OF AUTHORITIES
                                                                                (continued)
                2

                3    In re TFT-LCD (Flat Panel) Antitrust Litig.,
                         599 F. Supp. 2d 1179 (N.D. Cal. 2009) ...................................................................................15
                4
                     Theme Promotions, Inc. v. News Am. Mktg. FSI,
                5
                        546 F.3d 991 (9th Cir. 2008) ...................................................................................................18
                6
                     In re Transpac. Passenger Air Transp. Antirust Litig.,
                7        No. C 07-05634 CRB, 2011 WL 1753738 (N.D. Cal. May 9, 2011) ......................................12

                8    Vess v. Ciba-Geigy Corp. USA,
                        317 F.3d 1097 (9th Cir. 2003) .................................................................................................21
                9
                     Statutes
           10

           11        California Insurance Code
                        § 900.........................................................................................................................................14
           12           § 931.........................................................................................................................................14
                        § 934.........................................................................................................................................14
           13
                     Cartwright Act .........................................................................................................................18, 20
           14
                     Sherman Act...................................................................................................................................20
           15
                     Other Authorities
           16

           17        Federal Rule of Civil Procedure
                        9(b) ...........................................................................................................................................21
           18           12(b) ...........................................................................................................................................1
                        12(b)(6) ......................................................................................................................................6
           19

           20

           21

           22

           23

           24

           25

           26

           27

           28
  COOLEY LLP
                                                                                                                      DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                                              iv.                      MASTER DOCKET NO. 19-CV-00717-JST
                        Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 6 of 35



                1                             TABLE OF ABBREVIATIONS
                2

                3
                     ABC                      American Bail Coalition
                4
                     Accredited               Accredited Surety and Casualty Company, Inc.
                5

                6    ACIC                     American Contractors Indemnity Company

                7
                     AIA                      AIA Holdings, Inc.
                8
                     Allegheny                Allegheny Casualty Company
                9

           10        ASC                      American Surety Company

           11
                     Bankers                  Bankers Insurance Company
           12
                     CAC                      Consolidated Amended Class Action Complaint (ECF 46)
           13

           14        CalBIG                   California Bail Insurance Group

           15
                     CBAA                     California Bail Agents Association
           16
                     CDI                      California Department of Insurance
           17

           18        Continental              Continental Heritage Insurance Company

           19        Danielson                Danielson National Insurance Company
           20
                     Defendants               Unless noted otherwise, all references to “Defendant(s)” refer
           21                                 exclusively to the previously dismissed “Surety Defendants”
                                              (the undersigned moving parties below)
           22

           23        FCS                      Financial Casualty & Surety, Inc
           24
                     GSBAA                    Golden State Bail Agents Association
           25
                     Indiana Lumbermens       Indiana Lumbermens Mutual Insurance Company
           26

           27        International Fidelity   International Fidelity Insurance Company
           28
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                                                                           DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                            v.              MASTER DOCKET NO. 19-CV-00717-JST
                        Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 7 of 35



                1                              TABLE OF AUTHORITIES
                                                     (continued)
                2

                3
                     Lexington                Lexington National Insurance Corporation
                4
                     Lexon                    Lexon Insurance Company
                5

                6    NABIC                    National Association of Bail Insurance Companies

                7
                     NAIC                     National Association of Insurance Commissioners
                8
                     North River              The North River Insurance Company
                9

           10        SAA                      Surety Association of America

           11
                     SCAC                     Second Consolidated Amended Class Action Complaint
           12                                 (ECF 94)

           13        Seaview                  Seaview Insurance Company
           14
                     Seneca                   Seneca Insurance Company
           15

           16        SFAA                     Surety and Fidelity Association of America

           17        Sun Surety               Sun Surety Insurance Company
           18
                     TCAC                     Corrected Third Consolidated Amended Class Action Complaint
           19                                 (ECF 281-01)
           20                                 Unless noted otherwise, all references to the TCAC noted as ¶
           21
                     USFIC                    United States Fire Insurance Company
           22

           23        Universal                Universal Fire & Casualty Company

           24        Williamsburg             Williamsburg National Insurance Company
           25

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                                                                           DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                           vi.              MASTER DOCKET NO. 19-CV-00717-JST
                          Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 8 of 35



                1                                  NOTICE OF MOTION AND MOTION

                2    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                3           PLEASE TAKE NOTICE that on September 1, 2022 at 2:00 p.m., or as soon thereafter as

                4    the matter may be heard, in the courtroom of Honorable Jon S. Tigar, United States District Judge,

                5    Northern District of California, located at 1301 Clay Street, Oakland, CA 94612, Courtroom 2, 4th

                6    floor, the undersigned Defendants will, and hereby do, move the Court for an order dismissing

                7    Plaintiffs’ Corrected Third Consolidated Amended Class Action Complaint (ECF No. 281-1) (the

                8    “TCAC”) with prejudice.

                9           This motion is made pursuant to Federal Rule of Civil Procedure 12(b) and is based on this

           10        Notice of Motion and Motion, the accompanying Memorandum of Points and Authorities, the

           11        accompanying Declaration of Darryl W. Anderson and exhibits attached thereto, the accompanying

           12        Request for Judicial Notice and exhibits attached thereto, the pleadings and evidence on file in this

           13        matter, oral argument of counsel, and such other materials and argument as may be presented in

           14        connection with the hearing of the motion.

           15                                       STATEMENT OF RELIEF SOUGHT

           16               Defendants seek an order dismissing the TCAC in its entirety with prejudice.

           17                                  STATEMENT OF ISSUES TO BE DECIDED

           18               1.      Whether the TCAC’s federal and state antitrust claims should be dismissed for failing

           19        to allege an illegal agreement between and/or among Defendants.

           20               2.      Whether the TCAC alleges facts sufficient to plead each Defendant’s role and

           21        participation in the alleged conspiracy.

           22               3.      Whether the TCAC’s Unfair Competition Law should be dismissed for failure to state

           23        a claim upon which relief can be granted.

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                                                                                    DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                     1.              MASTER DOCKET NO. 19-CV-00717-JST
                          Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 9 of 35



                1                          MEMORANDUM OF POINTS AND AUTHORITIES

                2    I.     INTRODUCTION

                3           The TCAC is Plaintiffs’ latest attempt to allege facts sufficient to show that Defendants inflated

                4    the price of bail bonds in California through a purported conspiracy to fix premium rates and suppress

                5    bail agent rebating. Plaintiffs have failed to fix the deficiencies in their complaint for a third time

                6    despite the extraordinary benefit of extensive discovery against every named Defendant. Plaintiffs

                7    received over 170,000 documents—spanning the entirety of the alleged conspiracy, including all

                8    relevant communications between and among Defendants. Yet the holes in Plaintiffs’ theory remain

                9    clear and gaping.

           10               First, the TCAC still does not plead specific facts that demonstrate each Defendants’ role in

           11        the alleged conspiracy. Plaintiffs simply recycle or re-package the same conclusory allegations the

           12        Court found deficient in its prior orders granting Defendants’ motions to dismiss. The TCAC pleads

           13        no factual support for any price-fixing agreement among Defendants, and again fails to allege how

           14        each Defendant joined and participated in the supposed agreement. Crucially, aside from conclusory

           15        statements, the TCAC adds no new allegations regarding specific trade association meetings where

           16        the conspiracy was supposedly hatched or maintained. In other words, the TCAC does not allege that

           17        any Surety Defendant communicated anything specific to another Surety Defendant that would

           18        demonstrate an intent to illegally conspire on price—even with the benefit of expansive discovery.

           19        Plaintiffs instead rely on allegations regarding “information sharing” among industry trade

           20        associations—even after deciding to drop those associations from the lawsuit altogether. These few

           21        “new” allegations are woefully insufficient for multiple reasons, namely because they pertain to

           22        publicly available information about California sureties’ pricing data.

           23               Second, the TCAC’s allegations regarding the rebating prong of the conspiracy remain as

           24        deficient as before. Indeed, the amorphous alleged agreement among the Surety Defendants to

           25        “suppress” rebating practices is even more far-fetched now that Plaintiffs no longer name a single

           26        California bail agent. It is bail agents that actually interact with bail bond purchasers (the proposed

           27        class members) and negotiate on rebates. Without bail agents—formerly described by Plaintiffs as at

           28        the “center” of the conspiracy—the rebating aspect of the theory is even more implausible.
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                                                                                       DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                      2.                MASTER DOCKET NO. 19-CV-00717-JST
                           Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 10 of 35



                1            Third, where the TCAC does rely on documents from discovery, it is clear on their face that

                2    those documents evidence petitioning activity protected by the Noerr-Pennington doctrine. As just

                3    one example, the TCAC relies on comments about a “legislative proposal” made during a CDI-

                4    initiated bail industry task force. Defendants have the First Amendment-protected right to jointly

                5    petition on behalf of industry participants through lobbying of government agencies and the broader

                6    public. In short, the few “new” facts that Plaintiffs allege do not show a nefarious conspiracy—they

                7    show members in a highly regulated industry working to lobby the government for legislative change.

                8    As a matter of black-letter Ninth Circuit law, that activity cannot form the basis of an antitrust claim.

                9            Like the two complaints prior, the allegations in the TCAC boil down to either conclusory

           10        statements or facts that cannot support any inference of wrongdoing. The difference this time around

           11        is that Plaintiffs had the unprecedented benefit of fifteen months of wide-ranging discovery before

           12        amending. The Court should therefore dismiss the TCAC with prejudice.

           13        II.     BACKGROUND 1
           14                A.     April 2020 – January 2021: The Court Twice Dismisses Plaintiffs’ Similar
                                    Allegations.
           15

           16                The TCAC alleges a conspiracy by Defendants “(1) to maintain the ‘standard’ premium rate

           17        [for commercial bail bonds] at 10%; and (2) to discourage and suppress rebating.” ¶ 6. The Court has

           18        twice dismissed substantially similar complaints against Defendants. See ECF 91; ECF 159.

           19                In April 2020, the Court dismissed the CAC because Plaintiffs failed to allege facts sufficient

           20        to infer that any of the Surety Defendants or named bail agents had individually joined and participated

           21        in a conspiracy to fix bail prices. ECF 91 at 23, 25-26 (holding that Plaintiffs did not allege how “each

           22        individual defendant joined the conspiracy and played some role in it”).

           23                Plaintiffs filed the SCAC in May 2020. ECF 94. Plaintiffs again broadly alleged a two-

           24        pronged conspiracy between twenty sureties, certain individual defendants, two bail agents, and

           25        several trade associations to fix premium rates and prevent rebating. But the complaint again failed

           26        to allege when or how each Defendant joined the conspiracy. Aside from allegations about when

           27
                     1
                       Because the Court is familiar with basic mechanics of the California bail bond market as covered in
           28        the parties’ prior briefing, see ECF 91 at 1-4, Defendants do not repeat that background herein.
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ATTO RNEY S AT LAW
    SAN DIEGO
                                                                       3.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 11 of 35



                1    individual Defendants entered the California bail market, Plaintiffs merely alleged that the Surety

                2    Defendants filed similar premium rates, exchanged pricing data through the SFAA, and attended

                3    various trade association meetings. The Court dismissed the SCAC in January 2021 as to all Surety

                4    Defendants because it failed to allege specific facts regarding each Surety Defendant’s role,

                5    participation, and agreement to join the alleged conspiracy. ECF 159 at 20-21. The Court likewise

                6    dismissed both named bail agencies—Two Jinn, Inc. and All-Pro Bail Bonds, Inc.—and each of the

                7    named trade associations. Id. at 10-11.

                8           B.      January 2021 – December 2021: Defendants Produce Over 170,000 Documents
                                    in Post-Dismissal Discovery.
                9

           10               In their opposition to the previous motion to dismiss, Plaintiffs bemoaned their inability to

           11        meet the necessary pleading standard because they did not have access to Defendants’ “internal

           12        communications.” ECF 117 at 47. The Court thereafter permitted “tailored” discovery of the

           13        dismissed Defendants, “to allow Plaintiffs to gather the facts necessary to correct any perceived

           14        deficiencies in the pleading of their complaint,” namely, the failure to allege an agreement among the

           15        Defendants. ECF 151 at 2. This post-dismissal discovery also included broader document discovery

           16        against the alleged ringleaders of the conspiracy, Defendants ASC and Bill Carmichael.

           17               During pre-amendment discovery, Defendants, including ASC and Mr. Carmichael, produced

           18        over 170,000 documents—spanning 15 years—regarding their premium pricing and rebating practices

           19        in the bail bond industry, both in California and in other states. Declaration of Darryl Anderson in

           20        Support of Defendants’ Joint Motion to Dismiss (“Anderson Declaration”) at ¶ 13. Plaintiffs also

           21        issued at least five subpoenas to third-parties, resulting in over 6,900 pages of additional discovery.

           22        See id. Plaintiffs thus possess the “internal communications” they once claimed were critical to

           23        sufficiently allege a conspiracy, and have had months to review and analyze those documents and

           24        others. But the TCAC remains remarkably silent as to any specific communications suggesting an

           25        illegal agreement.

           26               C.      April 2022: Plaintiffs File the Repackaged SCAC as the TCAC.
           27               After the fifteen-month discovery period, Plaintiffs filed the TCAC, again alleging in broad

           28        strokes that the Surety Defendants participated in a two-pronged conspiracy to fix premium rates and
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ATTO RNEY S AT LAW
    SAN DIEGO
                                                                      4.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 12 of 35



                1    prevent bail agents from rebating. See ¶¶ 6, 117, 130. But the amended complaint only confirms that

                2    the Court’s previous dismissal orders were appropriate.

                3           The TCAC: (1) drops several defendants who were twice alleged to be co-conspirators,

                4    including all bail agents, trade associations, and a surety that operated in the California bail market

                5    during the period of the alleged conspiracy; (2) still fails to allege specific facts regarding each Surety

                6    Defendant’s agreement, participation, and/or role in the alleged conspiracy; and (3) repackages the

                7    same, insufficient allegations regarding uniform rates, “information sharing,” and trade association

                8    meeting attendance. The TCAC is thirteen pages longer, but with virtually all the same deficient copy-

                9    and-paste allegations. It fails to attach a single communication reflecting any agreement between

           10        Defendants to conspire. Instead, Plaintiffs seek to mask their conclusory claims with trade association

           11        meeting dates and stray references to lobbying-related documents.

           12                       1.      The TCAC drops multiple previously named defendants, further
                                            undermining the plausibility of any supposed industry-wide agreement.
           13

           14               Plaintiffs previously claimed that the dismissed bail agency defendants were at the “center” of

           15        the alleged conspiracy. See ECF 91 at 26; ECF 46 ¶ 72. But Plaintiffs now drop bail agents from the

           16        TCAC altogether. That omission leaves a gaping plausibility hole.

           17               Plaintiffs are the bail bond customers who interact with bail agents to negotiate prices and

           18        secure the bonds. The alleged price-fixing conspiracy is thus premised on the prevention of bail

           19        agents’ ability to provide discounts or rebates to customers. But Plaintiffs now propose a conspiracy

           20        where agents are somehow not part of the conspiracy at all. The TCAC fails to plausibly allege how

           21        each Surety Defendant could prevent rebates without coordinating with, communicating, or acting in

           22        concert with any California bail agencies or thousands of individual bail agents. The TCAC nowhere

           23        alleges facts that would demonstrate the necessary vertical agreements to enforce and police a

           24        conspiracy to fix prices in the two-tiered supply chain for commercial bail. See ECF 159 at 9-10.

           25                The TCAC also asserts that SFAA was at the center of the conspiracy, yet tellingly fails to

           26        name SFAA as a defendant. See ¶¶ 117-123. Moreover, the SFAA—founded in 1908 (¶ 117)—

           27        promulgated antitrust guidelines read at the outset of every meeting, and the minutes of meetings

           28        referenced in the TCAC reveal standard trade association discussions and lobbying activities.
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                                                                                        DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                                       5.                MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 13 of 35



                1    See infra Section IV.A.2.c; Anderson Decl., Exs. 9, 11. 2

                2           Finally, despite purporting to allege an industry-wide conspiracy, the TCAC does not rename

                3    Philadelphia Reinsurance Corporation, a surety that Plaintiffs twice claimed was part of the multi-

                4    decade price-fixing agreement in California. See SCAC ¶¶ 308-315. Plaintiffs’ decision to drop the

                5    bail agents, not name SFAA as a defendant, and not rename all the market participants—after receiving

                6    significant discovery from all three—is telling.

                7                   2.      The TCAC’s “new” allegations fail to allege each Defendant’s agreement
                                            to fix a 10% standard premium rate.
                8

                9           With regard to the premium-fixing claim, the TCAC’s “new” allegations are limited to (1) a

           10        list of trade associations meetings attended by some, but not all, of the Surety Defendants; (2) the same

           11        repackaged allegations of uniform rate filing and “data sharing”; and (3) references to legislative

           12        proposals more than a decade stale. See ¶¶ 117-129.

           13               First, the TCAC asserts that nine Surety Defendants attended an SFAA—a national trade

           14        association—meeting at least once during an eight-year period between 2003 to 2011, and that

           15        agreement to set a standard rate (for years to come) must have taken place at one or more of these

           16        meetings. See ¶¶ 117-118. But the TCAC’s factual allegations do not otherwise support that

           17        conclusory pronouncement. Despite having tens of thousands of produced documents, the TCAC does

           18        not point to any specific facts concerning the alleged agreement. It does not allege who on behalf of

           19        sureties specifically attended each of these SFAA meetings, what communications or documents

           20        2
                       Defendants request that documents attached to the concurrently filed Anderson Declaration be
           21        incorporated by reference. The Ninth Circuit has recognized it is appropriate to incorporate by
                     reference documents that are not specifically referenced or quoted in the complaint where they form
           22        the basis of a plaintiff’s claims. Knievel v. ESPN, 393 F.3d 1068 (9th Cir. 2005). It has also held that
                     a court may consider a document extrinsic to the complaint on a Rule 12 motion if the document is
           23        “integral to the plaintiff’s claims and its authenticity is not disputed.” Parrino v. FHP, Inc., 146 F.3d
           24        699, 706 n. 4 (9th Cir. 1998), superseded by statute on other grounds as stated in Lacey v. Mariacopa
                     Cty., 693 F.3d 896 (9th Cir. 2012). In considering such a document, the Court need not convert the
           25        Rule 12 motion to a motion for summary judgment. Parrino, 146 F.3d at 706. The rationale behind
                     this doctrine is simple: a plaintiff’s failure to incorporate an extrinsic document “rais[es] the spectre
           26        that plaintiff failed to incorporate [the document] by reference in the complaint as a means of avoiding
                     Rule 12(b)(6) dismissal.” Lesnik v. Eisenmann SE, 374 F. Supp. 3d 923, 936 (N.D. Cal. 2019).
           27
                     Furthermore, “the primary problem raised by looking to documents outside the complaint—lack of
           28        notice to the plaintiff—is dissipated [w]here the plaintiff has actual notice.” Id.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 14 of 35



                1    signaled the alleged agreement, or how it was maintained over time. The TCAC instead concludes

                2    that all Defendants reached an agreement to file a standard 10% rate based on some Defendants’

                3    attendance at these trade association meetings. ¶ 119. Like its predecessors, the TCAC does not even

                4    attempt to identify at which of these meetings the conspiracy to fix premium rates was hatched.

                5             Plaintiffs also allege that eight Surety Defendants attended at least one of four national trade

                6    association meetings hosted by the NABIC between 2011 and 2016. ¶¶ 125-126. And they allege that

                7    four Surety Defendants were members of CalBIG, which according to Plaintiffs, provided another

                8    opportunity to reach agreement. ¶ 127. But as to these meetings (alleged to only have been attended

                9    by some Defendants), Plaintiffs again reference no relevant documents, nor make any specific

           10        allegation that indicates an agreement was reached before, during, or after.

           11                 Second, like the dismissed complaints, the TCAC includes copy-and-pasted assertions against

           12        each Surety Defendant that claim filing 10% premium rates indicates an agreement to conspire.

           13        Compare ¶ 120 (alleging that conspiracy agreement based on Surety Defendants “express[ly]

           14        refer[red]” to a “10% premium rate . . . based upon ‘Surety Association of America (SAA) pricing’”),

           15        with SCAC ¶ 153 (same). The TCAC also repeats allegations that “dues-paying Defendants” supplied

           16        and received “competitive” data.        Compare ¶ 121 (alleging Defendants shared “detailed data

           17        concerning premiums charged and losses incurred”), with SCAC ¶ 154 (alleging Defendants shared

           18        “detailed data concerning all premiums charged and all losses incurred”). And while Plaintiffs now

           19        allege further crooked intent as to the SFAA’s pricing reports, they ignore that the SFAA—like many

           20        other trade associations—legitimately compiles publicly available data, filed with the CDI in the “Bail

           21        Bond Supplement” attached to sureties’ annual reports. See infra Section IV.A.2.b.

           22                 Third, Plaintiffs cite two legislative petitioning initiatives as evidence of industry-wide price-

           23        fixing. The TCAC quotes from a 2005 email about CalBIG’s three “proposed legislative ideas for

           24        2006.” See ¶ 128; Anderson Decl., Ex. 1. And it cites an April 2010 attempt to “persuade CDI to

           25        require a ‘fixed 10% bond rate,’” reflected in the meeting minutes of a CDI-initiated industry task

           26        force.   See ¶ 129; Anderson Decl., Ex. 10.         These are legitimate, First Amendment-protected

           27        petitioning activities, not conspiratorial communications; they also do not evidence an agreement

           28        among Defendants to fix prices. See infra Section IV.B.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 15 of 35



                1                   3.      The TCAC’s “new” allegations fail to allege each Defendant’s agreement
                                            to suppress bail agents’ rebating.
                2

                3           The TCAC alleges that Defendants also conspired to prevent premium rebating in California,

                4    “which required coordinating bail agent sales practices to serve the surety conspiracy.” ¶ 130. This

                5    supposed conspiracy would require preventing the rebating practices of “thousands of . . . bail agents.”

                6    ¶ 81; see CAC ¶ 112 (acknowledging that as of 2009 there were 3,400 bail agents “one on top of the

                7    other . . . fighting for that slice of the pie”). But this prong of the conspiracy is implausible from the

                8    start. Nowhere does the TCAC allege how that rebating agreement among the sureties came to be, or

                9    how it could be carried out and enforced in an industry with thousands of bail agents—who Plaintiffs

           10        now apparently concede are not part of the conspiracy. See supra Section II.C.1. The TCAC’s “new”

           11        allegations regarding a “common understanding to suppress rebates” do not even contain facts about

           12        each Defendant, as it must to state a claim against each. See ¶¶ 130-164 (mentioning only thirteen of

           13        the Surety Defendants). In short, the majority of the Defendant-specific allegations about rebating are

           14        verbatim to the SCAC, with the exception of one surety, for which Plaintiffs’ new complaint actually

           15        deletes some prior allegations. Compare ¶ 191, with SCAC ¶ 174.

           16               Plaintiffs therefore again ask the Court to assume the existence of a sprawling conspiratorial

           17        agreement among thousands of constituents based on public comments attributed to a few individuals

           18        and generic statements on trade association websites.         Compare ¶¶ 131-132 (Mr. Carmichael

           19        statements), with SCAC ¶¶ 361, 363 (same); compare ¶¶ 135-136 (GSBAA statements), with SCAC

           20        ¶¶ 143-144 (same); compare ¶¶ 137, 156-160 (alleging, without identifying members, that CBAA was

           21        the “primary industry association of bail agents in California” and identifying statements from

           22        CBAA’s website), with SCAC ¶¶ 136, 138-142 (same); compare ¶¶ 146-151 (American Bail Coalition

           23        statements), with SCAC ¶¶ 127-134 (same). The TCAC also points to the same insufficient handful

           24        of alleged statements by third-party bail agents. Compare ¶¶ 152-155 (attributing statements to Bad

           25        Boys Bail Bonds, Liberty Bail Bonds, GSBAA’s website, and “industry-sponsored, privately-run bail

           26        agent training courses”), with SCAC ¶¶ 147-150 (same).

           27               The only “new” allegations mustered by Plaintiffs concerning rebating relate to legislative

           28        proposals and lobbying statements (made by only some Defendants) from more than a decade ago.
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                            Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 16 of 35



                1    Plaintiffs contend, for example, that “ASC’s participation in trade associations had nothing to do with

                2    legitimate goals such as ‘pre-licensing education,’” which Plaintiffs allege Mr. Carmichael derided as

                3    having “no value.” ¶ 133. But the underlying document, which bears the heading “Legislation

                4    Recommended Change,” clarifies that Mr. Carmichael’s statement was about “no value in incurring

                5    the expense to pass” a “legislative package” that “consists solely of pre-licensing education,” and

                6    “seriously question[ing] the need for a lobbyist in 2006.” See Anderson Decl., Ex. 2. The TCAC

                7    itself also notes that these comments were in furtherance of “codify[ing]” bail premium reform “into

                8    law,” not coordinating a price-fixing conspiracy. See ¶ 139. Plaintiffs’ allegations about a GSBAA

                9    committee’s communications with three Surety Defendants (¶¶ 143-144) also clearly concerned a

           10        legislative proposal. See Anderson Decl., Exs. 4, 5. Furthermore, the complaint’s bald assertion that

           11        “Defendants’ efforts paid off” (¶ 140) ignores the cited documents themselves, in which a Surety

           12        Defendant states that “[w]e cannot and will not pass this legislation unless we can create broad based

           13        support for it,” and that “[w]e have completely ignored them [GSBAA].” See, e.g., Anderson Decl.,

           14        Ex. 3. In other words, the underlying documents do not suggest agreement (if anything, the opposite).

           15        And more fundamentally, Plaintiffs otherwise fail to allege specific facts as to each Surety Defendant

           16        regarding the circumstances of their supposed agreement to prevent independent California bail agents

           17        from offering rebates.

           18        III.     LEGAL STANDARD
           19                 The Court’s prior two orders on Defendants’ motions to dismiss state the pleading standards

           20        applicable to the TCAC. See ECF 91 at 7-8; ECF 159 at 7.

           21        IV.      ARGUMENT
           22                 A.     The TCAC Fails to Cure the Deficiencies the Court Identified in the SCAC.
           23                 The Court provided clear guidance that Plaintiffs must plead facts specific to each Defendant

           24        to “demonstrate each surety Defendants’ ‘role in the alleged conspiracy.’” ECF 159 at 20. Missing

           25        from the SCAC were, among other things, “allegations as to how most [S]urety Defendants joined the

           26        conspiracy.” Id. at 19. But the TCAC has not cured these basic deficiencies. It has added immaterial

           27        allegations that (at most) provide gloss upon points the Court already accepted as true when granting

           28        Defendants’ prior motions to dismiss.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 17 of 35



                1                   1.      The TCAC does not sufficiently allege any agreement—even after
                                            extensive discovery.
                2

                3           Only by alleging “evidentiary facts,” not “ultimate facts (such as conspiracy),” can Plaintiffs

                4    satisfy antitrust pleading requirements. Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1047 (9th Cir.

                5    2008) (emphasis added). Here, the TCAC does not plead facts evidencing an agreement among any

                6    of the Defendants. This fundamental flaw remains even with the Court-ordered pre-amendment

                7    discovery—spanning the entire class period and specifically focused on “evidence of agreement, if

                8    there is any.” 1/5/2021 CMC Hrg. Tr. at 11:1-3.

                9           As demonstrated below, the TCAC lacks evidentiary facts that Defendants agreed to a standard

           10        10% premium rate or to suppress bail agents’ premium rebating. Allegations, like those in the TCAC,

           11        are “inadequate” where it is not clear “who is alleged to have conspired with whom, what exactly they

           12        agreed to, and how the alleged conspiracy was organized and carried out.” In re Musical Instruments

           13        and Equip. Antitrust Litig., 798 F.3d 1186, 1190 (9th Cir. 2015). Furthermore, “where [as here]

           14        discovery concerning possible [illegal] agreements [between defendants] has already taken place, the

           15        complaint should contain factual allegations of those agreements.” In re Nat’l Ass’n of Music Merchs.,

           16        Musical Instruments and Equip. Antitrust Litig., MDL No. 2121, 2012 WL 3637291, at *1 (S.D. Cal.

           17        Aug. 20, 2012) (“Music Merchs.”). “Unless the factual allegations [of agreement] are adequate now,

           18        there is no reasonable expectation they will ever be adequate to support a claim.” Id. at *1-2

           19        (dismissing Section 1 claim with prejudice following discovery).

           20                       2.      The TCAC does not sufficiently allege how each Defendant joined and
                                            participated in a conspiracy to charge a standard 10% premium rate.
           21

           22               Still missing from the TCAC are required “allegations as to how most surety Defendants joined

           23        the conspiracy,” and “how or when the surety Defendants agreed to seek approval for a uniform

           24        premium rate . . .” ECF 159 at 19-20. Plaintiffs must allege each Defendant’s participation in the

           25        conspiracy with underlying facts evidencing illicit communications and/or meetings with other

           26        Defendants. 3 As the Court stated in its prior dismissal order:

           27
                     3
                       Further argument pertaining to the TCAC’s allegations against specific Surety Defendants is
           28        contained in concurrently filed memoranda in support of Defendants’ motion to dismiss.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 18 of 35



                1           Plaintiffs cite no alternative authority upholding antitrust conspiracy allegations
                            against defendants whose participation was not described in terms of communications
                2           and/or meetings with other defendants, and the Court has located no such case.
                3
                     Id. at 20. Plaintiffs have failed again to meet this required standard.
                4
                            The TCAC only musters conclusory allegations that are neither new nor actionable. The
                5
                     TCAC generically alleges that during unspecified SFAA Bail Bond Advisory Committee meetings,
                6
                     “Defendants agreed to seek default premium rates of 10%” and “reach[ed] common understandings
                7
                     regarding standard premium rates.” ¶¶ 117-118. It also alleges that certain Defendants (but not all)
                8
                     were members of ABC, and there “discussed and reaffirmed the [alleged] conspiracy.” ¶ 125.
                9
                            These allegations fail to set forth any evidentiary facts about who actually agreed with whom
           10
                     to do anything (because no one did, as discovery has confirmed). Not all sureties are alleged to have
           11
                     attended each of the meetings (and some are not alleged to have attended any); and not all Surety
           12
                     Defendants were even members of SFAA when they supposedly joined the conspiracy by submitting
           13
                     a rate filing with the CDI. With few exceptions (see, e.g., ¶ 128), statements in the TCAC that
           14
                     supposedly show a common understanding to maintain a standard 10% premium rate are not attributed
           15
                     to any particular surety. See, e.g., ¶¶ 117-118, 125. Nor is every Defendant alleged to have been a
           16
                     recipient of communications referenced in the TCAC. Some Defendants are not even alleged to have
           17
                     had any collusive communications with anyone to do anything.
           18
                            The TCAC simply alleges in conclusory strokes—with impermissible group pleading—that
           19
                     “[t]hrough emails, phone calls, and in-person meetings, [Defendants] reached a common
           20
                     understanding to: (1) maintain the default, ‘standard’ premium rate at 10%; and (2) minimize
           21
                     downward departures from that rate, in particular by discouraging or eliminating rebating that would
           22
                     decrease the effective price paid by consumers.” ¶ 116. But Plaintiffs point to no specific facts to
           23
                     substantiate those conclusions. Unlike In re TFT-LCD (Flat Panel) Antitrust Litig., 586 F. Supp. 2d
           24
                     1109, 1116 (N.D. Cal. 2008), the TCAC fails to allege “illicit conspiratorial communications between
           25
                     and among defendants,” or “specific information about the group and bilateral meetings by which the
           26
                     alleged price-fixing conspiracy was effectuated.” See ECF 159 at 20. Even with significant discovery
           27
                     from every alleged member of the conspiracy and multiple third-parties, the TCAC still lacks concrete
           28
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 19 of 35



                1    allegations that any Defendant participated in a specific communication or meeting with another

                2    Defendant about fixing premiums (or preventing rebates).

                3           Not only does the TCAC fail to allege requisite facts as to each Defendant’s agreement to join

                4    the alleged conspiracy, Plaintiffs also fail to allege each Defendant’s role and continued participation

                5    in the conspiracy. The TCAC’s allegations are thus in stark contrast to cases where Section 1 claims

                6    have survived motions to dismiss, even in cases where there had been no pre-amendment discovery.

                7    See ECF 159 at 20 (citing In re Animation Workers Antitrust Litig., 123 F. Supp. 3d 1175, 1209-11

                8    (N.D. Cal. 2015) (alleging specific conversations and meetings between studio executives); In re

                9    Transpac. Passenger Air Transp. Antirust Litig., No. C 07-05634 CRB, 2011 WL 1753738, at *15

           10        (N.D. Cal. May 9, 2011) (alleging that each airline had “participated in a July 2003 meeting in Geneva

           11        at which they indicated their support in principle of a collective fuel surcharge” and describing

           12        “specific, suspicious emails involving [the airlines],” including some emails that explicitly agreed to

           13        the alleged conspiracy); In re Static Random Access Memory (SRAM) Antitrust Litig., 580 F. Supp. 2d

           14        896, 903 (N.D. Cal. 2008) (quoting emails exchanging information about revenue and prices). As

           15        explained below, Plaintiffs’ attempts to plead around these underlying deficiencies again fall short.

           16                               a.     Allegations about SFAA pricing merely show parallel conduct.
           17               “Parallel action, even conscious parallel action, is not illegal.” Music Merchs., 2012 WL

           18        3637291, at *5. The allegation that Defendants’ premium rates filed with the CDI were “based upon

           19        [SFAA] pricing” is not new and remains insufficient. Compare SCAC ¶¶ 153, with ¶ 120; see also

           20        ECF 159 at 3 (referring to SFAA pricing allegations). The Court has twice considered allegations that

           21        Defendants were charging premium rates “based on [SFAA] pricing,” and already found that Plaintiffs

           22        merely alleged the sureties “engaged in parallel conduct,” not that Defendants had joined a conspiracy.

           23        See ECF 159 at 12-14, 18-20. The TCAC adds no facts to move the needle, including no example of

           24        where anyone “agreed” with anyone else to use SFAA pricing. Without more, the adoption of SFAA

           25        pricing, i.e., a common market rate, is not an “agreement” to conspire. 4

           26
                     4
                       Some Defendants, such as Seaview and Danielson, are not even alleged to have done anything,
           27        communicated with anyone, or attended a single trade association meeting until after they filed for a
                     10% premium rate with the CDI. While others, such as Continental, are not alleged to have done any
           28        such activity—even after they entered the market.
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                                                                     12.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 20 of 35



                1                          b.      Allegations about the exchange of publicly available pricing
                                                   information—required to be filed by the CDI—are likewise
                2                                  insufficient.

                3           The TCAC purports to set forth new allegations regarding the sharing of so-called

                4    “competitively sensitive information,” facilitated by the SFAA. ¶¶ 121-123. But these allegations are

                5    also not new or sufficient to state a claim. The SCAC alleged that “the Surety Defendants provide the

                6    SFAA with detailed data concerning all premiums charged and all losses incurred.” SCAC ¶ 154.

                7    “[T]he SFAA [then] creates and disseminates reports to the Surety Defendants that describe the prices

                8    charged by their potential rivals [and] [t]he Surety Defendants use these reports to determine whether,

                9    and to what extent, their potential rivals are deviating from the Conspiracy.” Id.

           10               To give the appearance of “new” facts, Plaintiffs repackage these prior insufficient allegations

           11        by inserting antitrust buzzwords, claiming that the SFAA’s “pricing reports” were “confidential,” and

           12        “violated well-known antitrust safeguards regarding the exchange of competitively sensitive

           13        information.” ¶ 122. But this rhetoric is empty.

           14               All the TCAC adds are the category names of publicly available data contained in the “Bail

           15        Bond Supplement”—what the TCAC refers to as “pricing reports.” See ¶ 123 (alleging that through

           16        the “pricing reports,” Defendants shared “competitively sensitive information,” including each other’s

           17        price, volume, and costs, such as: (1) “Face Amount of Bail Bonds Written”; (2) “Direct Premiums

           18        Written”; (3) “Comm[ission] and Broker Expenses”; (4) “Prem Writ Net of Agent Comm & Broker

           19        Expenses”; (5) “Direct Premium Earned (Gross)”; (6) “Prem Earned Net of Agent Comm & Broker

           20        Expense”; (7) “Direct Losses Paid” (8) “Direct Losses Incurred”; and (9) “Direct Losses Unpaid”).

           21        As explained in Defendants’ concurrently filed request, it is judicially noticeable that these exact

           22        categories of information contained in the SFAA’s Bail Bond Supplements—or what Plaintiffs

           23        misleadingly refer to as confidential “pricing reports”—are publicly available on a surety-by-surety

           24        basis. See ECF 270 (Plaintiffs indicating reliance on “SFAA 000389”); Defendants’ Request for

           25        Judicial Notice (“RJN”) in Support of Defendants’ Motion (ECF 283); Declaration of Gary A. Nye in

           26        Support of RJN (“Nye Declaration”) at ¶¶ 4-6, Exs. 1-3. In other words, the categories of purportedly

           27        “competitively sensitive information” alleged in paragraph 123 of the TCAC are verbatim to the

           28        categories of data in the Surety Defendants’ annual Bail Bond Supplement.
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                                                                     13.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 21 of 35



                1           Furthermore, pursuant to California Insurance Code (§§ 900, 931, and 934), information in

                2    these Bail Bond Supplements are required to be filed with CDI, monitored by the state agency, and

                3    are publicly available through its website. See Nye Decl. ¶ 4. Bail bond supplements prior to 2019

                4    are similarly publicly available—and judicially noticeable—through the NAIC. See id. at ¶ 5.

                5           The TCAC’s other conclusory allegations about information sharing—to give the appearance

                6    of specific allegations as to each Defendant—should similarly be rejected. These allegations each

                7    assert that “[Defendant] self-reported . . . to the SFAA/SAA Bail Bond Advisory Committee, in part

                8    for the purpose of establishing its own participation in the conspiracy to the satisfaction of other

                9    Defendants, and to receive Defendant-specific sales data from other Defendants, in part for the purpose

           10        of policing their participation in the conspiracy.” See, e.g., ¶¶ 170, 186, 199, 217, 232, 246, 258, 269.

           11        But the Court has already rightly found that this conclusory copy-paste pleading is insufficient to show

           12        each Defendant’s role and participation in the alleged conspiracy. See ECF 159 at 19-20.

           13               Far from improperly exchanging “competitively sensitive information” as the TCAC alleges,

           14        the sureties lawfully share publicly available data through the SFAA. Plaintiffs’ information-sharing

           15        allegations therefore cannot establish that any Defendant joined or participated in a conspiracy.

           16        “Gathering information about pricing and competition in the industry is standard fare for trade

           17        associations. If we allowed conspiracy to be inferred from such activities alone, we would have to

           18        allow an inference of conspiracy whenever a trade association took almost any action.” In re Citric

           19        Acid Litig., 191 F.3d 1090, 1098 (9th Cir. 1999). In short, the exchange of premium pricing

           20        information that the CDI requires to be publicly filed cannot form the basis of an antitrust claim.

           21                               c.      Allegations about trade association membership and mere
                                                    attendance at meetings remain insufficient.
           22

           23               “[M]ere participation in trade-organization meetings where information is exchanged and

           24        strategies are advocated does not suggest an illegal agreement.” In re Musical Instruments, 798 F.3d

           25        at 1196. The TCAC’s familiar allegations regarding the Defendants’ membership in various trade

           26        associations again fail to address the deficiencies the Court identified. See ECF 159 at 18-20.

           27        Plaintiffs only allege in general terms that “[t]he industry also relies on trade association meetings,

           28        which provide opportunities to conspire . . . opportunities for sureties and bail agents to collude.” ¶ 89.
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                                                                       14.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 22 of 35



                1    This is also not a new allegation. See ECF 159 at 2-3 (citing SCAC ¶¶ 126-155, i.e., allegations that

                2    “Defendants enforced the conspiracy through trade associations”).

                3           As before, the TCAC does not allege that the supposed conspiracy was hatched at any

                4    particular meeting. Additionally, “Plaintiffs do not allege facts demonstrating that Defendants actually

                5    communicated or exchanged information at these trade association meetings, much less that they

                6    entered an agreement to coordinate supply decisions while there.” In re Dynamic Random Access

                7    Memory (DRAM) Indirect Purchaser Antitrust Litig., 28 F.4th 42, 52 (9th Cir. 2022) (finding

                8    allegations insufficient that “Defendants each sent leadership teams to trade organization meetings

                9    several times a year, which ‘provided an ideal setting for Defendants to discuss future business

           10        plans’”).

           11               Instead, the TCAC lists meetings for SFAA, ABC, and CalBIG, adds some allegations around

           12        who attended, and provides boilerplate conclusions that “Defendants agreed” and “reach[ed] common

           13        understandings” at these meetings. ¶ 117-119; ¶¶ 125-126. But merely listing meeting dates, naming

           14        who attended, and a conclusion of conspiracy is insufficient. The TCAC’s own allegations make clear

           15        that not every Surety Defendant was a member of each trade association, nor did most sureties attend

           16        every alleged meeting. In fact, there are many sureties for which Plaintiffs do not allege they attended

           17        any meetings at all. An antitrust conspiracy cannot be imputed to those Defendants based on meetings

           18        they did not attend; and more fundamentally, “[a]ttendance at industry trade shows and events is

           19        presumed legitimate and is not a basis from which to infer a conspiracy, without more.” In re Graphics

           20        Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1023 (N.D. Cal. 2007); see also Jones v.

           21        Micron Tech. Inc., 400 F. Supp. 3d 897, 918 (N.D. Cal. 2019) (“Membership in associations and

           22        attendance at trade meetings presents nothing more than an opportunity to collude, and an opportunity,

           23        without more, is insufficient to state a claim under § 1.”) (footnote and citation omitted). There is

           24        simply no “more” here—even after multiple attempts to amend and broad discovery into every named

           25        Surety Defendant and the relevant trade associations.

           26               Ultimately, the TCAC continues to lack any “specific information about the group and

           27        bilateral meetings by which the alleged price-fixing conspiracy was effectuated.” ECF 159 at 20

           28        (citing In re TFT-LCD (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1184 (N.D. Cal. 2009))
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 23 of 35



                1    (emphasis added). It does not identify a single communication among Defendants leading into, during,

                2    or after the nine identified SFAA meetings. It only makes the conclusory allegations that “[f]rom its

                3    inception, the Committee discussed and coordinated state-specific sales practices of its members,” and

                4    those who may not have attended “were kept abreast of its activities and discussions.” ¶¶ 118-119.

                5    Plaintiffs also fail to disclose any relevant information about the SFAA Committee meetings where

                6    the conspiracy to charge 10% premium was allegedly effectuated, despite obtaining documents

                7    concerning those meetings in discovery. Indeed, the TCAC’s conclusory allegations concerning the

                8    SFAA meetings are belied by the association’s meeting minutes—which should be incorporated by

                9    reference and evidence legitimate trade association conduct. See Anderson Decl. ¶ 12, Ex. 11. Even

           10        still, given the lack of any Defendant-specific factual allegations around the meeting discussions,

           11        dismissal is warranted without incorporating the documents by reference.

           12               Finally, as for ABC, the TCAC concludes—without any evidentiary facts alleged in support—

           13        that certain Defendants were members of ABC where they “discussed and reaffirmed the conspiracy.”

           14        ¶ 125; see also ¶ 127 (alleging only that “CalBIG provided another forum whereby Defendants reached

           15        and maintained an understanding”).        The TCAC’s conclusory allegations surrounding trade

           16        association membership remain insufficient to plead an antitrust claim.

           17                       3.     The TCAC does not sufficiently allege that each Defendant joined and
                                           participated in a conspiracy to prevent rebates.
           18

           19               The TCAC’s allegations regarding a conspiracy to prevent rebates do not cure the deficiencies

           20        this Court identified. Plaintiffs do not add a single nonconclusory allegation to the Defendant-

           21        specific sections of the TCAC regarding “Rebate Suppression.” For all but one Surety Defendant, the

           22        exact same copy-and-paste language from the SCAC that the Court said was insufficient remains the

           23        same. 5 The SCAC had included “the same generic language regarding each [S]urety Defendant’s

           24        agreement not to rebate . . . [and] these allegations [were] insufficient to demonstrate each [S]urety

           25        Defendants’ ‘role in the alleged conspiracy.’” ECF 159 at 19-20. In fact, unlike the prior complaints,

           26        the TCAC now drops as defendants the two bail agents that Plaintiffs all but conceded would be

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                      For the one Surety Defendant for which there is any difference (Allegheny (see ¶ 191)), the TCAC
           28        deletes an allegation from the SCAC and adds nothing else new.
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                                                                    16.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 24 of 35



                1    necessary parties to effectuate any rebating conspiracy. See supra Section II.C.1. Because these

                2    allegations have not changed from the SCAC, the TCAC again fails to allege each Defendant joined

                3    and participated in any conspiracy to prevent rebating.

                4           Absent requisite defendant-specific facts, the TCAC now alleges that the non-party trade

                5    associations GSBAA and CBAA are the mechanism through which the supposed rebating conspiracy

                6    was effectuated. 6 But not all Defendants are alleged to have been members of GSBAA or CBAA; not

                7    all Defendants are alleged to have received communications before or after such meetings; and indeed,

                8    not all Defendants are alleged to have attended any of the bail agent association meetings whatsoever.

                9    As with the SFAA meetings, the TCAC also does not allege any evidentiary facts about the GSBAA

           10        or CBAA meetings that would indicate a plausible rebating conspiracy, despite Plaintiffs receiving

           11        meeting minutes from these former defendants in post-dismissal discovery. Therefore, for the same

           12        reasons discussed above concerning the premium-prong of the alleged conspiracy, the TCAC’s “new”

           13        allegations concerning trade associations are insufficient. See supra Section IV.A.2.c.

           14               As with prior complaints, the TCAC quotes certain statements from Mr. Carmichael in 2005.

           15        ¶¶ 131-132. It also cites to 2005 email correspondence involving limited recipients. ¶¶ 133, 138-139.

           16        But no other Defendant is referenced in or copied on these communications, nor otherwise alleged to

           17        have received such communications. Therefore, TCAC again relies on the insufficient conclusory

           18        allegations that (1) “Defendants infiltrated and influenced bail agent trade associations that could help

           19        them achieve their common purpose of maintaining bail bond prices above competitive levels”

           20        (¶ 134); and (2) “Defendants used their trade associations to agree and maintain the default rate of

           21        10%, and they looked to the bail agent trade associations to make sure that their rate conspiracy

           22        succeeded” (¶ 132). These boilerplate allegations certainly do not allege facts to infer each Defendant

           23        joined in and participated in the alleged conspiracy to prevent rebates.

           24               In sum, what was inadequate pleading before remains so still. There are no new factual

           25        allegations material to the “[alleged] common understanding to suppress rebates,” let alone applicable

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                     6
           27          Plaintiffs also notably do not reference a single SFAA meeting at which Defendants allegedly agreed
                     to suppress rebates. The SFAA meetings alleged relate solely to the alleged agreement to seek
           28        approval for a uniform premium rate.
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                                                                      17.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 25 of 35



                1    to each Defendant. Plaintiffs’ conclusory pronouncement that every Surety Defendant agreed to

                2    “prevent its bail bond agents from advertising rebates to consumers” (see, e.g., ¶¶ 191, 207, 221, 236)

                3    is simply not substantiated by the TCAC’s deficient allegations. This aspect of the alleged conspiracy

                4    therefore fails yet again.

                5            B.      The Noerr-Pennington Doctrine Also Bars Plaintiffs’ Amended Claims.
                6            Under the Noerr-Pennington doctrine, “[t]hose who petition government for redress are

                7    generally immune from antitrust liability.” Pro. Real Est. Invs., Inc. v. Columbia Pictures Indus., Inc.,

                8    508 U.S. 49, 56 (1993). Simply put, “the Noerr-Pennington doctrine . . . places certain ‘[j]oint efforts

                9    to influence public officials’ beyond the reach of the antitrust laws.” F.T.C. v. Ticor Title Ins. Co.,

           10        504 U.S. 621, 627 (1992) (citation omitted). Moreover, to avoid chilling legitimate lobbying activities,

           11        the Ninth Circuit requires a plaintiff to allege specific facts, under “a heightened pleading standard,”

           12        demonstrating that Noerr-Pennington does not apply. Boone v. Redevelopment Agency of City of San

           13        Jose, 841 F.2d 886, 894 (9th Cir. 1988); see also Oregon Nat. Res. Council v. Mohla, 944 F.2d 531,

           14        533 (9th Cir. 1991).

           15                Noerr-Pennington protection is also not limited only to direct petitioning conduct.

           16        “[C]ommunications between private parties are sufficiently within the protection of the Petition Clause

           17        to trigger the Noerr-Pennington doctrine, so long as they are sufficiently related to petitioning

           18        activity.” Sosa v. DIRECTV, Inc., 437 F.3d 923, 935 (9th Cir. 2006); see also Allied Tube & Conduit

           19        Corp. v. Indian Head, Inc., 486 U.S. 492, 499 (1988). 7

           20                The handful of new documents that Plaintiffs rely on in the TCAC (involving only some Surety

           21        Defendants) reveal that their claims are based on protected petitioning activity immune from antitrust

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                     7
           24          The Noerr-Pennington doctrine applies to every cause of action alleged in the TCAC. See, e.g.,
                     Theme Promotions, Inc. v. News Am. Mktg. FSI, 546 F.3d 991, 1007 (9th Cir. 2008); Kottle v. Nw.
           25        Kidney Ctrs., 146 F.3d 1056, 1059 (9th Cir. 1998) (“[T]he Noerr–Pennington doctrine sweeps broadly
                     and is implicated by both state and federal antitrust claims that allege anticompetitive activity in the
           26        form of lobbying or advocacy before any branch of either federal or state government.”); Coronavirus
                     Rep. v. Apple Inc., No. 21-cv-05567-EMC, 2021 WL 5936910, at *19 (N.D. Cal. Nov. 30, 2021)
           27        (dismissing Sherman Act and UCL claims on Noerr-Pennington grounds); Blank v. Kirwan, 39 Cal.
           28        3d 311, 320-21 (1985) (applying Noerr-Pennington to Cartwright Act claim).
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                                                                      18.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 26 of 35



                1    liability. 8 As an initial matter, the TCAC devotes numerous paragraphs to quote from documents

                2    noting that trade associations are formed and act based on the common interests of their members,

                3    seemingly ascribing nefarious anticompetitive motives to such statements. See ¶¶ 85, 88, 135-136,

                4    146, 148-150. But the existence of these trade associations and the Surety Defendants’ involvement

                5    identified in the TCAC merely suggests protected “petitioning conduct” that includes “concerted

                6    efforts to influence . . . government[ ] through direct lobbying, publicity campaigns, and other

                7    traditional avenues of political expression.” Allied Tube, 486 U.S. at 510. In other words, Plaintiffs

                8    have alleged that Defendants were pursuing what the First Amendment’s Petition Clause affords—the

                9    right to jointly petition for protections on behalf of industry participants through lobbying of the

           10        government and the broader public.

           11               The specific internal communications and activities that Plaintiffs quote from or reference also

           12        fit squarely within the activities protected by Noerr-Pennington. For example, Plaintiffs focus on a

           13        July 2005 CalBIG email group discussion about a “Mandatory 10% Premium Concept.” ¶ 128. But

           14        that email exchange clearly shows that the participants were discussing proposed legislative initiatives,

           15        not agreeing to any conspiracy. See Anderson Decl., Ex. 1. The combination of some sureties to

           16        discuss a future legislative proposal is precisely the type of conduct incidental to petitioning activity

           17        that is protected under Noerr-Pennington.

           18               The same is true for the other trade association communications Plaintiffs identify in the

           19        TCAC. See ¶ 129 (referencing communications about joint efforts for a “fixed 10% bond rate,” which

           20        Plaintiffs concede was directed towards “persuad[ing] CDI”), ¶ 133 (referencing ASC016706, which

           21        pertains to trade-association discussions about a policy initiative for the upcoming legislative session),

           22        ¶¶ 138-139 (referencing ASC016712, which pertains to garnering support for the “proposed CalBIG

           23        legislative initiative.”), ¶¶ 143-144 (referencing GSBA000002210, which pertains to the sureties

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           25        8
                       Defendants recognize the Court’s order on the motion to dismiss the CAC found that the doctrine
           26        did not apply because “Plaintiffs do not allege that Defendants jointly lobbied the California legislature
                     to set certain premium rates.” ECF 91 at 17. The TCAC, however, reflects that Plaintiffs indeed seek
           27        to impose antitrust liability for such petitioning activity (see ¶ 139 (alleging Defendants’ plan was to
                     “mak[e] it unlawful to rebate”)); as explained herein, the few “new” documents the TCAC quotes from
           28        or references involve activity protected under Noerr-Pennington.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 27 of 35



                1    serving on GSBAA committees to lobby for surety interests), ¶ 145 (referencing CBAA000003150,

                2    which are minutes from the June 2009 meeting of the CBAA and GSBAA’s “Joint Legislative

                3    Committee,” showing that the participants were discussing premium/rebates in relation to legislative

                4    action and evaluating proposed laws in other states, such as Connecticut), ¶ 161 (referencing

                5    CBAA000008537, which are non-state-specific forms drafted for potential use in the bail industry), 9

                6    ¶¶ 162-163 (referencing ACIC_000010108 and ACIC_000011890, which pertain to a debate among

                7    members of the CBAA and GSBAA that Plaintiffs concede involve discussion of “working together”

                8    to petition for change in the “law”); Anderson Decl., Exs. 2, 3, 4, 5, 6, 7 (attaching documents

                9    referenced in the TCAC and cited above).

           10               The few “new” facts that Plaintiffs invoke in the TCAC thus reveal classic petitioning conduct

           11        and communications incidental to that conduct.         Furthermore, as the Ninth Circuit has held,

           12        “[c]onclusory allegations are insufficient to strip [] Noerr-Pennington protection.” Boone, 841 F.2d

           13        at 894; see Evans Hotels, LLC v. Unite Here Loc. 30, 433 F. Supp. 3d 1130, 1154 (S.D. Cal. 2020)

           14        (granting motion to dismiss Sherman Act claim on Noerr-Pennington grounds); Prime Healthcare

           15        Servs., Inc. v. Serv. Emps. Int’l Union, No. 11-CV-02652 JLS (RBB), 2012 WL 3778348, at *13 (S.D.

           16        Cal. Aug. 30, 2012) (same). For this additional reason, Plaintiffs’ claims should be dismissed.

           17               C.      The Cartwright Act Claim Fails with the Sherman Act Claim.
           18               As this Court previously ruled, a Cartwright Act claim is subject to the same analysis as a

           19        Sherman Act Claim (ECF 91 at 18), and if the Sherman Act claim fails, the Cartwright Act claim also

           20        fails. See Brown v. 140 NM LLC, No. 17-cv-05782-JSW, 2019 WL 118425, at *10 (N.D. Cal. Jan. 7,

           21        2019) (citations omitted). Thus, for the reasons stated above, Plaintiffs’ Cartwright Act claim fails.

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           24        9
                       Defendants additionally note Congress recently affirmed that creating standard insurance forms is
                     procompetitive. The Competitive Health Insurance Reform Act of 2020 (CHIRA) provides that health
           25        insurance companies are exempt from antitrust liability for agreements related to “develop[ing] or
           26        disseminat[ing] a standard insurance policy form,” provided they do not require adherence to the form.
                     15 U.S.C. § 1013(c)(2)(D). The bill was meant to bar anticompetitive conduct while permitting
           27        “procompetitive collaboration that benefits customers,” such as the creation of standard insurance
                     forms. 166 Cong. Rec. H4572 (2020) (Rep. Scanlon). Here, the TCAC alleges that the CBAA forms
           28        are “recommended,” not required.
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                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 28 of 35



                1           D.      The UCL Claim Falls with the Antitrust Claims.

                2           The TCAC alleges a claim under the UCL’s unlawful, unfair, and fraudulent prongs based on

                3    the same conduct underlying the alleged antitrust claims. See ¶¶ 415-423. “If the same conduct is

                4    alleged to be both an antitrust violation and an ‘unfair’ business act or practice for the same reason . .

                5    . the determination that the conduct is not an unreasonable restraint of trade necessarily implies that

                6    the conduct is not ‘unfair’ toward consumers.” SC Manufactured Homes, Inc. v. Liebert, 162 Cal.

                7    App. 4th 68, 93 (2008), as modified on denial of reh’g (May 19, 2008) (citation omitted). The failure

                8    of the antitrust claim thus compels dismissal of the UCL claim.

                9           Furthermore, Plaintiffs’ opposition to Defendants’ second motion to dismiss confirmed that

           10        Plaintiffs are not pursuing a claim under the UCL’s “fraudulent” prong. ECF 117 at 59-60 (“Plaintiffs

           11        are not pursuing a claim under the UCL’s ‘fraudulent’ prong based on Defendants’ misleading

           12        statements, ECF No. 112. at 46, as the Court already recognized, MTD Order at 28-29.”) Rightly so.

           13        However, to the extent Plaintiffs do attempt to claim a violation of the UCL’s fraudulent prong this

           14        time around, the TCAC fares no better. Claims under the UCL’s fraudulent prong are subject to the

           15        heightened pleading requirements of Federal Rule of Civil Procedure 9(b). See Brazil v. Dole Food

           16        Co., 935 F. Supp. 2d 947, 963 (N.D. Cal. 2013) (citation omitted). Rule 9(b) requires plaintiffs to

           17        plead “the who, what, when, where, and how of the misconduct charged.” Vess v. Ciba-Geigy Corp.

           18        USA, 317 F.3d 1097, 1106 (9th Cir. 2003) (internal quotations and citation omitted). Additionally, “a

           19        plaintiff proceeding on a claim of misrepresentation as the basis of his or her UCL action must

           20        demonstrate actual reliance on the allegedly deceptive or misleading statements.” A White & Yellow

           21        Cab, Inc. v. Uber Techs., Inc., No. 15-cv-5163-JSW, 2017 WL 1208384, at *7 (N.D. Cal. Mar. 31,

           22        2017) (internal quotations omitted).

           23               The TCAC does not meet the particularity or standing requirements for a “fraudulent” prong

           24        claim. As with the prior dismissed complaints, the named Plaintiffs do not allege that they encountered

           25        any false statements before making their bond purchasing decisions, much less that they relied on the

           26        statements. See ¶ 36 (no allegation that Plaintiff Crain relied on any false or misleading statements

           27        from bail agents); ¶ 37 (no allegation that Plaintiff Monterrey relied on any false or misleading

           28        statements from bail agents). The only two California bail agents that Plaintiffs previously filed suit
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                                                                      21.                MASTER DOCKET NO. 19-CV-00717-JST
                          Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 29 of 35



                1    against—All-Pro and Two Jinn—are no longer even named defendants. And the TCAC fails to

                2    explain how any allegedly false statements made by these third-parties could be imputed to individual

                3    Surety Defendants. The UCL claim should be dismissed.

                4           E.     Dismissal Should be with Prejudice.
                5           Plaintiffs have again failed to cure the pleading deficiencies this Court identified, even with

                6    the benefit of significant discovery from each named Defendant and multiple third-parties. “Unless

                7    the factual allegations [of agreement] are adequate now, there is no reasonable expectation they will

                8    ever be adequate to support a claim.” Music Merchs., 2012 WL 3637291, at *1-2 (dismissing Section

                9    1 claim with prejudice following pre-amendment discovery). Further amendments to the complaint

           10        “would be futile” and dismissal with prejudice is therefore warranted. Hartmann v. Cal. Dep’t. of

           11        Corr. & Rehab., 707 F.3d 1114, 1130 (9th Cir. 2013).

           12        V.     CONCLUSION
           13               For these reasons, and the reasons stated in Defendants’ concurrently filed individual briefs,

           14        the TCAC should be dismissed with prejudice.

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                                                                    22.               MASTER DOCKET NO. 19-CV-00717-JST
                         Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 30 of 35



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                                                           23.             MASTER DOCKET NO. 19-CV-00717-JST
                        Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 31 of 35



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                       Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 32 of 35



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                                                         25.             MASTER DOCKET NO. 19-CV-00717-JST
                       Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 33 of 35



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                                                                        DEFENDANTS’ JOINT MOTION TO DISMISS
ATTO RNEY S AT LAW
    SAN DIEGO
                                                         26.             MASTER DOCKET NO. 19-CV-00717-JST
                       Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 34 of 35



                1    Dated: May 26, 2022               By: /s/ Paul J. Riehle
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                6
                                                       Attorneys for Defendant Accredited Surety and
                7                                      Casualty Company, Inc.

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                        Case 4:19-cv-00717-JST Document 284 Filed 05/26/22 Page 35 of 35



                1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

                2           I, Beatriz Mejia, attest that that each of the other Signatories has concurred in the filing of this

                3    document. Executed on May 26, 2022, in San Francisco, California.

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                                                                            /s/ Beatriz Mejia
                6                                                           Beatriz Mejia

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